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IN THE UNITED STATES DISTRICT COURT 545/535 05
FoR THE WESTERN DISTRICT oF TENNESSEE ,; 35 <5’ 453 ~»<
EASTERN DIVISION ‘ § <9-

 

SHARON KIMBRELL ASHLEY,
individually and as the Next of Kin to
JIMMY KIMBRELL, deceased,

Plaintiff,

VS. No. l-OS-lOOG-T-An
THE STATE OF TENNESSEE, d/b/a
NORTHWEST CORRECTIONAL
CENTER and d/b/a NORTHWEST
CORRECTIONAL CENTER MEDICAL
CLINIC, and JOHN DOE, in his official
capacity as an employee/agent/servant of
Northwest Correctional Center,

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Defendants.

 

ORDER DENYING PLAINTIFF’S MOTION FOR DEFAULT JUDGMENT

 

Plaintiff Sharon Kimbrell Ashley, individually and as the Next of Kin to Jirnmy
Kimbrell, deceased, brought this action pursuant to 42 U.S.C. § 1983 against Defendants
Northwest Correctional Center (“NWCX”); Northwest Correctional Center Medical Clinic;
and unnamed John Does one through five, in their capacities as employees, agents, and
servants of Northwest Correctional Center. Plaintiff alleges that Defendants failed to treat
decedent, an inmate at NWCX, after he complained of pain and, as a result, are liable for his

wrongful death, damages, and personal injuries sustained. Plaintiff files this motion for

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default judgment, arguing that default is proper because Defendants have failed to respond
to the complaint served on March 11, 2005. Because Plaintiff has failed to obtain the entry
of default by the Clerk of the Court, however, the motion is DENIED.

Rule 55 of -the Federal Rules of Civil Procedure governs defaults and default
judgments Section (a) of Rule 55 deals with entry cfa technical default by the Clerk, and
section (b) deals with entry cfa default judgment, either by the Clerk or by the Court itself.
Entry of a technical default under section (a) is different from, and must precede, entry of
a default judgment under section (b). w Arango v. §§uzman Travel Advisors, 761 F.Zd
1527, 1530 (1lth Cir.), cert denied, 474 U.S. 995 (1985); Atlanta Gas Light Co. v.
Semaphore Adver.. Inc., 747 F. Supp. 715, 718 (S.D. Ga. 1990). Entry of a technical default
by the Clerk is the “first procedural step on the road to obtaining a default judgment,” and
must be obtained before a default judgment may be granted. Shepard Clairns Serv.. Inc. v.
William Darrah & Assoc., 796 F.Zd 190, 193 (6th Cir. 1986); see also United Coin Meter
§§o. v. Seaboard Coastline R.R., 705 F.2d 839, 844 (6th Cir. 1983); United States v. 8771
Lake Road, 818 F. Supp. 199, 201 (W.D. Mich. 1992) (default encompasses two Steps: first,
entry cf default and then a subsequent default judgment); Piercey v. Miami Valley Ready-
Mixed Pension Plan, llO F.R.D. 294, 296-97 (S.D. Ohio 1986).

In order to obtain the entry of default under Rule 55(a), an application seeking entry
of default should be filed With the Clerk, along with an affidavit or other competent proof

of the defendant’s failure to plead or otherwise defend the action. The Clerk will examine

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the application and, if the requirements of Rule 55(a) are met, certify that the defendant is
in default. Then the plaintiff may file a motion for default judgment, accompanied by the
Clerk’s certificate of default.

Since Plaintiff has not obtained the entry of default by the Clerk, the motion for a

default judgment is premature Consequently, the motion for default judgment is DENIED.

IT IS SO ORDERED.

A.M

JA S D. TODD
TED STATES DISTRICT IUDGE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
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Sharon Kirnbrell Ashley

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Honorable J ames Todd
US DISTRICT COURT

